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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.

 MONICA J. DENNIS,
 on behalf of herself and
 all others similarly situated,

       Plaintiff,

 v.

 MRS ASSOCIATES, INC.,

       Defendant.

 _________________________________________/

                           CLASS ACTION COMPLAINT
                                JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”).

                           JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, MONICA J. DENNIS, is a natural person, and citizen of the

 State of Florida, residing in Broward County, Florida.
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        4.    Defendant, MRS ASSOCIATES, INC., is a professional corporation

 and citizen of the State of New Jersey with its principal place of business at 1930

 Olney Avenue, Cherry Hill, New Jersey 08003.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt due Ford

 Motor Credit Company, LLC arising from an alleged debt incurred for personal,

 family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on her

 cellular telephone on or about the dates stated:

        December 2, 2009 at 2:48 PM
        This message is for Monica J. Dennis. Ms. Dennis my name’s Bill
        Nicholson, contacting you regarding a file that I had placed on my desk. I
        want to review some of the information in front of me with you personally.
        Phone number for you to reach me is 1-800-819-8567 extension 3607. The
        file number for your reference Ms. Dennis, 14408907. I am being asked to
        render a decision on this file Ms. Dennis. It’s in your best interest to get back



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       in touch with me as soon as you receive the message so I get your side of the
       story on record. Take care.

       11.    Based upon information and belief, Defendant left similar or identical

 messages on other occasions. (Collectively, “the telephone messages”).

       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2).

       13.    Defendant, MRS Associates, Inc., failed to inform Plaintiff in the

 messages that the communication was from a debt collector and failed to disclose

 Defendant’s name.

       14.    Up to May 1, 2010, Defendant, MRS Associates, Inc., had a policy of

 failing to disclose its status as a debt collector and failing to disclose its name, in

 all telephone messages placed to consumers to collect debts.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       15.    Plaintiff incorporates Paragraphs 1 through 14.

       16.    Defendant, MRS Associates, Inc., failed to disclose in the telephone

 messages that it is a debt collector in violation of 15 U.S.C. §1692e(11). See Foti

 v. NCO Fin. Sys., 424 F. Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan

 Servicing, 2006 U.S. Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate

 Collection Servs., 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

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       17.     Plaintiff incorporates Paragraphs 1 through 14.

       18.     Defendant, MRS Associates, Inc., placed telephone calls to Plaintiff

 without making meaningful disclosure of its identity when it failed to disclose its

 name and thus the purpose of its communication in the telephone messages in

 violation of 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case

 No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla.,

 September 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591,

 593 (D. Ga. 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D.

 Cal. 2005).

                         CLASS ACTION ALLEGATIONS

       19.     Plaintiff incorporates the foregoing paragraphs.

       20.     This action is brought on behalf of a class defined as:

               a.       all United States residents for whom Defendant left a

       message in which it failed to make meaningful disclosure of its identity,

               b.       in an attempt to collect a debt incurred for personal, family

       or household purposes

               c.       due Ford Motor Credit Company, LLC

               d.       during the one-year period prior to the filing of the

       complaint in this matter through May 1, 2010.




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       21.      Plaintiff alleges on information and belief based on the use of uniform

 telephone messages that the class is so numerous that joinder of all members is

 impractical.

       22.      There are questions of law and fact common to the class, which

 common issues predominate over any issues involving only individual class

 members. The principal issues are:

                a.        whether Defendant’s messages violate the FDCPA and

                b.        whether Defendant is a debt collector.

       23.      The claims of Plaintiff are typical of those of the class members. All

 are based on the same facts and legal theories.

       24.      Plaintiff will fairly and adequately protect the interests of the class.

 Plaintiff has retained counsel experienced in handling actions involving unlawful

 practices under the FDCPA and class actions. Neither Plaintiff nor her counsel

 have any interests which might cause them not to vigorously pursue this action.

       25.      Certification of a class under Rule 23(b)(2) of the Federal Rules of

 Civil Procedure is appropriate in that Defendant has acted on grounds generally

 applicable to the class thereby making appropriate declaratory relief with respect to

 the class as a whole.

       26.      Certification of the class under Rule 23(b)(3) of the Federal Rules of

 Civil Procedure is also appropriate in that:



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          a.        The questions of law or fact common to the members of the

    classes predominate over any questions affecting an individual member.

          b.        A class action is superior to other available methods for the fair

    and efficient adjudication of the controversy

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 herself and the class and against Defendant for:

               a.   Certification of this matter to proceed as a class action;

               b.   Statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(B);

               c.   Attorney’s fees, litigation expenses and costs of suit; and

               d.   Such other or further relief as the Court deems proper.

                                      JURY DEMAND

        Plaintiff demands trial by jury.


                                           Respectfully submitted,

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